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UNITED STATES Dis.TRICT CoURT'
WESTERN DISTRICT oF WASH]NGTON AT sEATTLE

GEORGE JOHNSON,

.Plaintiff,
VS .

DONALD P`. WANG IN PERSONAM; THE
F/V THOR, OFFICIAL NUMBER 224713,
HER ENG]NES, MACH]NERY,
APPURTENANCES AND CARGO, IN REM,

Defendants.

 

 

 

 

JURISDICT_ION
Jurisdietion is vested in this Court by virtue of28 U.S.C. § 1333.
CLA_IMS AND DEFENSES
The plaintiff Will pursue at trial the following claims: Quantum meruit vvages under the
general maritime law, and to prevent unjust enrichment to the defendants; double Wage penalties
and attorney fees for the failure to pay Wages, Without any bona fide dispute over plaintiffs

entitlem'ent; punitive damages for the vvillful and Wanton refusal to pay vvages', prejudgment

interest

PLAlNTlFF’S PROPOSE]) PRETRIAL ORDER - 1
CASE NO. 2:116-cv-0173B-JLR

THE HONORABLE JAMES L. ROBAR'I

Case No. 2:16-cv-0173 S-JLR

PARTIES’ STIPULATED PRETRIAL
ORDER

JOHN W. MERRIAM
4005 20th Avemle West, Suite 110
Seattie, Washington 98199
T (206) 729-5252 § F (206) 729-1012

 

 

 

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Case 2:16-<:\/-0173 -.JLR Document44 Fl|ed 07127!18 Page 2 of5

1. Because Defendant’s counterclaim Was terminated on 8/22/2017, Defendant will
pursue the following affirmative defenses:
a. Lack of consideration
b. Fraud
c. Unclean hands
ADMITTED FACTS

The following facts are admitted by the parties:

l. '1` he F/V Thor is a 62-foot wooden halibut schooner of 70 gross tons, built 1925 in
Tacoma.

2. Defendant Wang purchased the F/V Thor on July 12, 2016 for $25,000.

3. Defendant Wang applied for and Was issued a commercial fishing license for the
F/V Thor With George Johnson’s name on it.

4. Tbrcughout July and August of 2016, Defendan_t Wang and plaintiff Jobnscn
engaged in discussions regarding George Johnson skippering the F/V Thor for the 2016 Tuna
Season, however the two could not agree on terms.

ISSUES- OF LAW

The following are issues of law to be determined by the Court:

1. Is plaintiff entitled to quantum meruit vvages if Defendant breached an oral

contract of employment?

2. ls the plaintiff entitled to Wages at a higher rate than 1515/hour if Defendant

breached his promise to let plaintiff fish the 2016 tuna season?

3.. lf the Court fmds that there Was no contract of employment, is Plaintiff entitled to

quantum meruit Wages to prevent unjust enrichment to Defendant?

PLA!NTIFF’S PRoPoSED PRETRIAL ORDER - 2 ' mva W. MERRlAM
CASE NO- 2:16“CV‘01738'JLR 4005 20th -Avenue West, Suite 110
Seattle, Washington 93199
T (206) 729-5252 z v (206) 729-1012

 

 

 

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1 4. Are punitive damages available to commercial fishermen asserting Wage claims?
2 .
3
4 EXPERT WITNESSES
5 on Behalr arrlaimirr; None.
6 On Behalf of Defendant: None
7
3 .LH_E_RM
9 On Be.half of Plaint'iff:
10 1. Plaintiff himself
11 2. Elvvood Latta
12 3. Franl< Price
13 4. Steven Alexander
14 5. Ricl< Beze
15 '6. Ray Forsman
16 7. Officer Matthew Huston
17 8. Alexander f)ldfm
18 9. Aaron Vantleven
19 10. Donald Wan_g
20
21 On Behalf of Defendant:
22 1. Tom Riedinger
23 2. Donalcl Wang

 

 

PLAINTIFF’S PROPOSED PRETRIAL ORDER - 3

_ CASE NU. 2:16~cv~01738-JLR

JOHN W. MERRIAM
4005 20th Avcnue West, Suitc 110
Seattle, Washingtoo 98199
T (206) 729~5252 + F (206) 729-1012

 

 

 

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3. Defendant reserves the right to call each/all of Plaintiff’s witnesses as his own
EXHIBITS

Authenticity stipulated,, admissibility disputed:

Plaintiff s Exhibits:

l. Cert`ificate of Documentation for F/V Thor.

2. General Index. or Abstract of Title for FfV Thor.

3. Primary -Operator license (fo.r plaintiff) from the Wasbington Department of Fish

and Wildlif`e; and a detail of expenditures made by plaintiff for the F/V Thor.
4. Pacific Highly l\/ligrat'ory Species Vessel Permit for FIV Thor and Donald P.
Wang from National Marine Fisherics Service, issued .luly 28, 2016
7 5. June - September calendar pages for days and hours worked by plaintiff on the
F/V Thor.
6. Partial List of work performed on the F/V Thor by plaintiff
7. Transcript of Donald P. Wang deposition
8. Port of Seattle Police Department Report and Supplement Report # 2016-41751
Defendant’s Exhibits:
1. United States Coast Guard MISLE lncident lnvestigation Report For l\/[ISLE Case

Number: 472191.

ACTION BY THE COURT
(a) This case is scheduled for trial without a jury on August 13, 201 S.

(b) Trial briefs shall be submitted to the Court on or before August 6, 2018.
C<,-,) Ea(,{/\ jole \`s a,{/lc>ca+col ?>_'15 hours Pw »h/¢`u,L l

PLA]NT]FF ’S PROPO`SED PRETR!AL ORDER - 4 JOHN \rV. MERRIAM
CASE NO- 2116-CV-01`733-JLR ` 4005 20th Avenue Wcst, Suite 110
Seattle, Washin_gton 98199
T (206) 729-5252 § F'(206) 729-1012

 

 

 

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THIS ORDER has been approved by the parties by evidenced by the signatures of their
counsel. THIS ORDER shall control the subsequent course of the action unless modified by
subsequent order. THIS ORDER shall not be amended except by Order of the Court pursuant to
agreement of the parties or to prevent manifest injustice

DATEDthiS §011/\ day arruiy, 2013.

Q,YA§<

JAMES L. R BART
United State District Judge

 

 

 

Aggroved as to Form.'
LAW OFFICE OF JOHN MERRIAM and
Neil Lindquist
By: /s/John W. Merriam By: /s/ Donald P. Wang
John W. Merriam, WSBA #12749 D'onald P. Wang
4005 20th Avenue West, Suite 110 . 392 Loma Drive, Suite 201
Seattle, WA 93199 Los Angeles, CA 90017
Telephone: (206) 729~5252 Telephone; (213) 465-55 53
' Fax: (206) 729-1012 7 Email: schay4-20@live.com
Email: 'chn inen'iam~lnaritimelaw.com PFO S€ ll)é'fb'"d‘flml
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PLAINTIFF’S PROPOSED PRETRIAL -oRDER - 5 ' .IOI-IN W. MERRIAM
CASE NO. 2-:16-cv-01738-JLR 4005 201h Avcnue West, Suite 110

Seattle, Wnshington 98199
T (206) 729-5252 o F (20-6) 729-1012

 

 

